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                                                                   DISTRlcr COURT
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Counsel for Providence Hall Charter School, Defendant


                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF UTAH, CENTRAL DIVISION


 ERIN PRESTON,                                        NOTICE OF REMOVAL OF A CIVIL
                                                      ACTION FROM STATE COURT TO
                               Plaintiff,             FEDERAL COURT

                v.                                    Case: 2:15cv00589
                                                      Assigned To : Parrish, Jill N.
 PROVIDENCE HALL CHARTER                              Assign. Date : 8/20/2015
 SCHOOL,                                              Description: Preston v. Providence Hall
                                                      Charter School
                               Defendant.

       Pursuant to 28 U.S.C. §§ 1331, 1441(a) and 1446, PLEASE TAKE NOTICE that

Defendant, Providence Hall Charter School ("Defendant"), hereby removes the above-entitled

action from the Third Judicial District Court, Salt Lake County, State of Utah to this Court. The

grounds for removal are as follows:

       1.      On August 6, 2015, Plaintiff, Erin Preston, filed and served a First Amended

Complaint (hereinafter "Amended Complaint") in the Third Judicial District Court, Salt Lake

County, State of Utah, in Case No. 150900722. A true and correct copy of the Amended

Complaint is attached hereto as Exhibit A.
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       2.      Plaintiffs Amended Complaint contains causes of action against Defendant for

alleged violations of federal civil rights under 42 U.S.C. § 1983.

       3.      Plaintiffs original Complaint, filed on January 1, 2015, did not contain any

claims for relief under 42 U.S.C. § 1983, or any other federal law.

       4.      Based on Plaintiffs allegations of violations of federal civil rights, this Court has

original jurisdiction of the above-entitled action pursuant 28 U.S.C. §1331, and this action may

be removed to this Court pursuant to 28 U.S.C. §1441(a).

       5.      Removal of this action is timely. Fewer than thirty days have elapsed since the

Plaintiff filed and served, and Defendant received, the Amended Complaint. The Amended

Complaint was the first pleading from which it was ascertained that the case is one that has

become removable. See 28 U.S.C. §1446(b)(3).

       6.       Pursuant to 28 U.S.C. § 1446 (a), a copy of all process, pleadings and orders that

have been served on Defendant are attached hereto as Exhibits A, B, C, and D.

       WHEREFORE, Defendant submits this Notice that the above-entitled matter is hereby

removed from the Third Judicial District Court in and for Salt Lake County, State of Utah, in

accordance with the provisions of 28 U.S.C. § 1446.

       DATED this 20th day of August, 2015.

                                              SEAN D. REYES
                                              Utah Attorney General

                                              /s/ Joshua D. Davidson
                                              JOSHUA D. DAVIDSON
                                              Assistant Utah Attorney General
                                              Attorney for Defendant




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on the 20th day of August, 2015, a true and correct copy of the

foregoing NOTICE OF REMOVAL OF A CIVIL ACTION FROM STATE COURT TO

FEDERAL COURT was sent via U.S. mail, first class, postage prepaid, and electronic mail to

the following:

Lauren I. Scholnick
 lauren@utahjobjustice.com
Jonathan K. Thorne
jonathan@utahobjustice.com
STRINDBERG & SCHOLNICK, LLC
675 East 2100 South, Suite 350
Salt Lake City, UT 84106
Attorneys for Plaintiff

and via hand delivery to:

Clerk of Court
Third Judicial District Court, Salt Lake County
450 South State Street
Salt Lake City, UT 84114


                                             /s/MarLe B. Lajan




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